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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
___________________________________________
                                            )
MOISES FERNANDEZ, et al.                    )
            Plaintiffs                      )
                                            )
v.                                          ) CIVIL ACTION NO. 09-12149-EFH
                                            )
KYLE WILCOX, et al.                         )
            Defendants.                     )
___________________________________________)

          MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

                                                I.      Introduction

           Defendants Fabian Guerrero, Ryan Guthrie, and Terence Pennington 1 (hereinafter, “the

Defendants”) submit this memorandum in support of their Motion to Dismiss the complaint filed

against them by Plaintiffs Moises and Ruben Fernandez (hereinafter, “the Plaintiffs”). The

Complaint is ripe for dismissal pursuant to Fed. R. Civ. P. 12(b)(6) as to the Defendants because

it fails to state a claim upon which relief may be granted against them.

                                                 II.      Argument

           THE PLAINTIFFS’ COMPLAINT FAILS TO STATE A CLAIM UPON
           WHICH RELIEF MAY BE GRANTED AGAINST THESE DEFENDANTS
           BECAUSE IT CONTAINS NO FACTUAL ALLEGATIONS THAT, IF
           PROVEN, WOULD SUPPORT THE CONCLUSION THAT THE MOVANTS
           VIOLATED THE PLAINTIFFS’ CIVIL RIGHTS

           a.       Alleged Facts Contained In The Complaint And Legal Standard

           The Plaintiffs filed a complaint in the United States District Court, District of

Massachusetts, on or about December 18, 2009 alleging that they were wrongfully arrested and

mistreated by Officer Kyle Wilcox and other members of the Lawrence Police Department in

December, 2006. Complaint at ¶¶ 14-81. Five current or former members of the Lawrence


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    The complaint misidentifies Officer Guthrie as “Guthrie Ryan” and misspells Officer Pennington’s first name.
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Police Department, as well as the City of Lawrence, the Mayor, and the Chief of Police are all

named as defendants. 2 The Complaint contains eight counts, all of which appear to seek relief

against all of the named defendants in the suit.

        The Complaint makes specific (and contested) factual allegations pertaining to Wilcox

sufficient to state a claim for relief. Complaint at ¶¶ 14-81. The Complaint, however, fails to

allege specific facts attributable to the other defendants sufficient to form any basis for liability.

Other than identifying them as parties who were police officers, the Defendants do not appear in

any specific allegations of fact other than the following:

Allegations against all three Defendants

        74.      The following officers who came in contact with plaintiffs, and who
        testified in the criminal case, lied about the circumstances of the plaintiffs’
        beating: Guthrie, Terrance [sic] Pennington, Lt. McNamara, and Fabian Guerrero
        (who coyly claimed he didn’t see blood because “I wasn’t looking for any
        blood”).

Allegations against Officer Guerrero individually

        37.    At the station after being deposited in one cell (the pink room) by Officer
        Guerrero, Moises was visited by Wilcox who appeared to hiding [sic] an object
        behind his back.

        55.    After 3-4 steps Ruben was thrown face first into the floor by Wilcox, even
        though he was making no effort to escape as suggested by Wilcox, and officer
        Guerrero was present for this abuse according to Ruben.

Allegations against Officer Guthrie individually

        30.   Wilcox stopped choking Moises and summoned his partner, Ryan, to the
        basement with a radio call.

        33.     Moises, Wilcox, Ruben, Moises’ son, and Officer Guthrie Ryan [sic] went
        upstairs to the first floor and exited in the presence of the property owner,
        Altagracia Fernandez, who was holding a baby girl of a few months age.



2
 The complaint at ¶ 13 also makes reference to five John Doe defendants, but does not appear to attempt to state any
claim against them.


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       34.    Suddenly Officer Wilcox sprayed Ruben with pepper spray and told
       Officer Ryan “Take this motherfucker too” referring to Ruben, who was at that
       time holding the hand of Moises’ son.

       35.     Ryan put the handcuffs on Ruben while Wilcox punch [sic] Ruben several
       times in the back.

Allegations against Officer Pennington individually

       53.       At Wilcox’s trial, Ruben Fernandez testified the wagon door was initially
       opened by defendant Pennington, who laughed and closed the door with Ruben
       still in the wagon.

       54.    Minutes after Pennington shut the door, Wilcox opened the wagon door to
       take Ruben out.

Id..

       The allegations against these Defendants are insufficient to constitute a basis for relief.

In particular, the Complaint does not allege any facts which would support a legal conclusion

that the Defendants violated the Plaintiffs’ civil rights or committed any form of tortious conduct

against them, as alleged in Counts I through VIII of the Complaint. This is no mere technical

omission. There is, simply put, nothing in the Complaint which would entitle the Plaintiffs to

any recovery against these Defendants.

       While the Plaintiffs are not required to set forth detailed factual allegations in their

complaint, they are required to make “a short and plain statement of the claim showing that the

pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). See also Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 555 (2007).      “To survive a motion to dismiss, the factual allegations of a

complaint must ‘possess enough heft’ to set forth ‘a plausible entitlement to relief.’” Sanabria v.

City of Lawrence, et al., 2009 WL 2711903, at *2 (D. Mass. 2009) (quoting Twombley and

citing Thomas v. Rhode Island, 542 F.3d 944, 948 (1st Cir. 2008)). See also id. citing Gagliardi

v. Sullivan, 513 F.3d 301, 307 (1st Cir. 2008) (upholding dismissal of a section 1983 claim




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where plaintiff’s claim was “conclusory and . . . not substantiated by reasonable inference from

the well-pleaded facts”). The Plaintiffs have filed a statement of their allegations that does not

meet this modest burden, at least as concerns the Defendants here. Interpreting the pleadings in

the most generous light imaginable, there is no basis to grant relief against the Defendants on any

of the eight counts in the Complaint.

       The United States Supreme Court has recently issued guidance for trial courts on the

standards pleadings must meet to survive a motion to dismiss in the context of civil rights

actions. See Ashcroft v. Iqbal, 556 U.S. ___, 129 S. Ct. 1937 (2009). In Iqbal, the Court held

that, “[t]o survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” 129 S.Ct. at 1949 (citing

Twombley). “Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id. Crucially, “where the well-pleaded facts do not

permit the court to infer more than the mere possibility of misconduct, the complaint has

alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief.’” Id. at 1950 (quoting

Fed. R. Civ. P. 8(a)(2)). “Rule 8 . . . does not unlock the doors of discovery for a plaintiff armed

with nothing more than conclusions.” Id. Here, while the Plaintiffs will no doubt argue that they

ought to be permitted discovery to develop claims against the Defendants, their Complaint is not

a sufficient key to unlock that door. Indeed, it is difficult to imagine a more threadbare set of

allegations than those against the Defendants. The conduct alleged to have been committed by

these Defendants simply could not give rise to any liability.

       The Iqbal court suggested that a court considering a motion to dismiss “begin by

identifying pleadings that, because they are no more than conclusions, are not entitled to the

assumption of truth.” 129 S. Ct. at 1950. Allegations that all named Defendants are liable to the




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Plaintiffs on each of eight counts constitute nothing more than unsupported conclusions. The

Court should therefore not credit the allegations, such as they are, contained within those

paragraphs. This leaves the paragraphs cited above as the only allegations specifically directed

to them at all. The Court should then assume the veracity of these paragraphs “and then

determine whether they plausibly give rise to an entitlement to relief.” Iqbal, 129 S.Ct. at 1950.

As shown below, these paragraphs cannot plausibly give rise to any entitlement to relief on the

Plaintiffs’ claims. The Complaint, therefore, must be dismissed as against these Defendants.

       b.      The Specific Facts Alleged Against Officer Guerrero, Even If Proven,
               Would Not Entitle The Plaintiff To Any Relief.

       As an initial matter, the allegations contained in paragraph 74 of the complaint may be

disposed of summarily. Even assuming for the sake of argument only that Officer Guerrero and

the other Defendants did perjure themselves, police officers are entitled to absolute immunity

from suit under § 1983 for perjury during criminal trials. Briscoe v. LaHue, 460 U.S. 325, 326

(1983). For state actors, the Massachusetts Civil Rights Act is essentially coextensive with §

1983, so it too does not create liability for perjurious testimony. See, e.g., Nelson v. City of

Cambridge, 101 F. Supp. 2d 44 (D. Mass. 2000); Canney v. City of Chelsea, 925 F. Supp. 58 (D.

Mass. 1996); Batchelder v. Allied Stores Corp., 473 N.E.2d 1128 (Mass. 1985).

       The remaining allegations against Officer Guerrero are that he placed Moises Fernandez

in a holding cell and was present when Officer Wilcox allegedly used unreasonable, and thus

excessive, force by throwing Ruben Fernandez to the ground. See Complaint at ¶¶ 37, 55. There

is no allegation that Officer Guerrero acted unreasonably in placing Moises Fernandez in the




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holding cell, or that this action in any way harmed him. See also M.G.L. c. 263, § 3. 3 The

plaintiff is thus left with the allegation that Officer Guerrero was present for Officer Wilcox’s

alleged use of excessive force upon Ruben Fernandez.

         Police officers can be held liable under § 1983 for failure to intervene and protect a

victim of excessive force from another officer. See, e.g., Wilson v. Town of Mendon, 294 F.3d

1, 6-7 (1st Cir. 2002); Gaudreault v. Municipality of Salem, Mass., 923 F.2d 203, 207 n. 3 (1st

Cir. 1990); Nolan v. Krajcik, 384 F. Supp. 2d 447, 465 (D. Mass. 2005); Hathaway v. Stone, 687

F. Supp. 708, 711-13 (D. Mass. 1988). A police officer’s duty to intervene, however, is not

absolute; for liability to attach, an officer must have had a “realistic opportunity to prevent an

attack.” Gaudreault, 923 F.2d at 207 n. 3 (internal quotation marks omitted). “[A]n onlooker

cannot be charged with section 1983 liability for another’s sudden, momentary actions.”

Jesionowski v. Beck, 937 F. Supp. 95, 104 (D. Mass. 1996) (quoting Noel v. Town of Plymouth,

895 F. Supp. 346, 352 (D. Mass. 1995)). General fourth amendment standards of reasonableness

apply. Cf. Hathaway, 687 F. Supp. at 713. If one officer is using excessive force, others “may

be held liable if they were present when the plaintiff was beaten, they knew that such force was

being used, and they failed to stop [the other officer] from using such force.” Id. at 712. If the

original force used was not excessive, of course, there would not be any liability for failure to

intervene to prevent that force.

         Even assuming (for the purposes of this motion only), that Officer Wilcox did assault the

Plaintiff in the manner alleged in paragraph fifty-five of the complaint, there are no facts pled



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 “No action, except for use of excessive force, shall lie against any officer other than the arresting officer, by reason
of the fact that, in good faith and in the performance of his duties, he participates in the arrest or imprisonment of
any person believed to be guilty of a crime unless it can be shown that such other officer in the performance of his
duties took an active part in the arrest or imprisonment as aforesaid, either by ordering or directing that said arrest or
imprisonment take place or be made, or by actually initiating the making and carrying out of said arrest and
imprisonment.”


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that would enable a trier of fact to find that Officer Guerrero was forewarned of Officer Wilcox’s

intentions, or that the alleged assault on Ruben continued after he had been thrown to the ground.

There is thus no factual underpinning in the complaint to support a conclusion that Officer

Guerrero had any realistic opportunity to prevent Ruben from being thrown to the ground or to

prevent any continuation of the attack afterwards. The absence of such allegations doom the

Plaintiffs’ theory that liability should be imposed. Cf. Gaudreault, 923 F.2d at 207 n. 3 (no

opportunity to intervene where “the attack came quickly and was over in a matter of seconds”).

       In sum, the failure to intervene theory against Officer Guerrero rests wholly on a

threadbare assertion of his fortuitous presence when Officer Wilcox allegedly threw Ruben to the

ground, a manifestly insufficient basis upon which to impose § 1983 liability against Guerrero.

       c.      The Specific Facts Alleged Against Officer Guthrie, Even If Proven,
               Would Not Entitle The Plaintiff To Any Relief.

       As set forth above, Officer Guthrie’s alleged perjury could not subject him to liability for

civil damages. Briscoe v. LaHue, 460 U.S. 325, 326 (1983). The remaining allegations against

Officer Guthrie are that he went down to the basement, accompanied Officer Wilcox and others

back up the stairs, arrested Ruben Fernandez at Officer Wilcox’s direction after Officer Wilcox

had pepper sprayed him, and handcuffed him while Officer Wilcox allegedly punched him.

Complaint at ¶¶ 30, 33-35. These allegations are simply insufficient to establish any basis for

liability against Officer Guthrie.

       A Massachusetts police officer is privileged in his conduct if he participates in an arrest

at the direction of another officer, so long as he does not use excessive force during the course of

the arrest. See M.G.L. c. 263, § 3. There is no allegation that Officer Guthrie himself used any

force, excessive or otherwise, against the Plaintiff before, during, or after the handcuffs were

applied. The only remaining possible claim, then, is that Officer Guthrie failed to intervene to



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prevent Officer Wilcox’s alleged use of excessive force.

        That claim too, however, must fail, as an examination of the precedent makes clear. In

Gaudreault, the plaintiff alleged that an officer had hit him with a night stick and kicked him in

the head. 923 F.2d at 206. Nevertheless, the court noted that other officers who had been

present for the alleged assault had had no realistic opportunity to intervene. Id. at 207 n. 3.

Similarly, in Jesionowski other officers were held to have no opportunity to intervene to prevent

an assault where the assaulting officer allegedly twice kicked the plaintiff in the head. 923 F.2d

at 206. Finally, in Noel, the court held that there was no opportunity to intervene to prevent a

blow to the face followed by a blow to the back. 895 F. Supp. at 353. See also Riley v. Newton,

94 F.3d 632, 635 (11th Cir. 1996); O’Neill v. Krzeminski, 839 F.2d 9, 11-12 (2d Cir. 1988);

Parlin v. Cumberland County, 659 F. Supp. 2d 201, 210-11 (D. Me. 2009); Martin v. Anderson,

107 F. Supp. 2d 1342, 1350 (M.D. Ala. 1999).

        Here, there is no allegation that the alleged beating of Ruben Fernandez continued for

any extended period. The Plaintiff alleges that he was pepper sprayed and then punched several

times in the back by Officer Wilcox. The complaint is devoid of any factual allegations that the

assault, assuming that it actually occurred, lasted for a duration exceeding a few seconds. As

with Officer Guerrero, there is no allegation that Officer Guthrie was in any way forewarned of

the impending assault or that its duration was such that Guthrie purposefully ignored an ongoing

beating. As a matter of law, then, the allegations against Officer Guthrie are insufficient to state

a claim for relief.

        d.      The Specific Facts Alleged Against Officer Pennington, Even If Proven,
                Would Not Entitle The Plaintiff To Any Relief.

        As with the other officers, Officer Pennington’s alleged perjury could not subject him to

liability for civil damages. Briscoe v. LaHue, 460 U.S. 325, 326 (1983). The only remaining



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allegation against Officer Pennington, other than that he is, in fact, a police officer, is that he

opened a door, laughed, and then closed the door, before the alleged station house beating. See

Complaint at ¶¶ 53-54. There is no allegation that Pennington’s alleged laugh was a response to

any excessive force observed by him or that this conduct somehow damaged the Plaintiff in any

way. The jocularity attributed to Officer Pennington is thus a clearly inadequate basis for

recovery under any conceivable theory of liability.

                                         III. Conclusion

       For all of the foregoing reasons, the Defendants Fabian Guerrero, Ryan Guthrie, and

Terence Pennington respectfully request that this Honorable Court DISMISS, in its entirety, the

Complaint as to them.




                                                            Respectfully submitted,
                                                            For the Defendants,
                                                            FABIAN GUERRERO,
                                                            RYAN GUTHRIE, and
                                                            TERENCE PENNINGTON
                                                            By their attorneys,

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                                                  CERTIFICATION

       Pursuant to Local Rule 7.1(A)(2), I hereby certify that I have conferred with counsel and
have attempted in good faith to resolve or narrow the issue herein.

                                                                     /s/ Mark Esposito_______
                                                                     Mark J. Esposito

                                          CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent by first class mail, postage prepaid, to those indicated as non-
registered participants on this date.

                                                                     /s/ Mark Esposito_______
                                                                     Mark J. Esposito
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